      Case 3:19-cv-00383 Document 1-1 Filed on 11/18/19 in TXSD Page 1 of 2

EXHIBIT 1


October 25, 2019

Via Electronic Mail and FedEx Delivery
NOTICE OF DEMAND FOR PAYMENT

77 American Petroleum Services
9543 Bissonet Street, Suite 301
Houston, TX 77036

Re:             Demand for Payment
Amount Due:     $273,386.25
Vessel:         Pacific 12 (Ex-Pride Wisconsin)
Invoice No.:    022234, 022698, 026415, 026416, 026417, 026418, 026419, 026420, 026421, 026422,
                026423, 026856, 027408, and 027682

To Whom it May Concern:

The purpose of this letter is to provide notice that the Gulf Copper & Manufacturing Corporation (“Gulf
Copper”) has supplied necessaries, including berthage and shore power services to the vessel Pacific 12,
formerly known as the Pride Wisconsin, pursuant to instructions received from 77 American Petroleum
Services, but has not received payment for several invoices dating back to June 2018. This account is
delinquent, and we must demand immediate payment of the full outstanding amount of $273,386.25, which
includes the seriously delinquent amount totaling $150,386.25. An accounts receivable summary detailing
the outstanding amounts for each entity which were billed and remain unpaid is enclosed, however please
note that charges continue to accrue for services to the vessel.

Gulf Copper intends to arrest the Pacific 12 as a result of 77 American Petroleum’s failure to satisfy its
obligation to pay for services rendered to the vessel and reserves the right to take any and all actions
required to recover the unpaid balance, unless all amounts owed are paid on or before 26 November, 2019.
This notice is not intended to harass but is required to be sent in order to protect Gulf Copper’s rights, and
Gulf Copper expressly reserves all rights to which it may be entitled at law or equity. Also, as Gulf Copper
anticipates that litigation may arise from this matter, please preserve any and all evidence relating to this
matter.

Thank you in advance for your prompt attention. If you have any questions regarding this matter, please
contact me at 409-941-6285 or via email at jkelley@gulfcopper.com.

Sincerely,




Jennifer Kelley
In-House Counsel

Enclosures
AR Aged Past Due (Detailed)                                Branch:     GALV03                           Customer:           C10545                                         Page:                  1 of 1
Company:       Galveston Ops                                                                            Aged On:            10/24/2019                                     Date:      10/24/2019 2:46 PM
User:          Swan, Dana

Statement Cycle ID        Last Statement Date        Description

MONTHLY                   9/30/2019                  Monthly

Customer                  Name
C10545                    77 American Petroleum Services

                                                                                                                                             Past Due
Doc.       Ref. Nbr.   Customer Ref./ Orig.     Branch         Doc. Date         Due Date    Current          1 - 30 Days            31 - 60 Days       61 - 90 Days   Over 90 Days             Balance
INVOICE    022234      Ref. Nbr.
                       022234                   GALV03         11/30/2018    12/30/2018          0.00                0.00                   0.00               0.00           71.75                71.75
INVOICE    022698      022698                   GALV03         12/31/2018     1/30/2019          0.00                0.00                   0.00               0.00           78.25                78.25
INVOICE    026415      026415                   GALV03         1/28/2019      2/27/2019          0.00                0.00                   0.00               0.00       28,000.00            28,000.00
INVOICE    026416      026416                   GALV03         2/28/2019      3/30/2019          0.00                0.00                   0.00               0.00       31,000.00            31,000.00
INVOICE    026417      026417                   GALV03         2/28/2019      3/30/2019          0.00                0.00                   0.00               0.00          138.50               138.50
INVOICE    026418      026418                   GALV03         3/31/2019      4/30/2019          0.00                0.00                   0.00               0.00       30,000.00            30,000.00
INVOICE    026419      026419                   GALV03         3/31/2019      4/30/2019          0.00                0.00                   0.00               0.00           75.50                75.50
INVOICE    026420      026420                   GALV03         4/30/2019      5/30/2019          0.00                0.00                   0.00               0.00       31,000.00            31,000.00
INVOICE    026421      026421                   GALV03         5/1/2019       5/31/2019          0.00                0.00                   0.00               0.00           22.25                22.25
INVOICE    026422      026422                   GALV03         5/31/2019      6/30/2019          0.00                0.00                   0.00               0.00       30,000.00            30,000.00
INVOICE    026423      026423                   GALV03         6/30/2019      7/30/2019          0.00                0.00                   0.00          31,000.00            0.00            31,000.00
INVOICE    026856      026856                   GALV03         7/31/2019      8/30/2019          0.00                0.00              31,000.00               0.00            0.00            31,000.00
INVOICE    027408      027408                   GALV03         8/31/2019      9/30/2019          0.00           31,000.00                   0.00               0.00            0.00            31,000.00
INVOICE    027682      027682                   GALV03         9/30/2019     10/30/2019     30,000.00                0.00                   0.00               0.00            0.00            30,000.00
                                                               Customer Total:              30,000.00           31,000.00              31,000.00          31,000.00      150,386.25          273,386.25

                                                               Statement Cycle Total:       30,000.00           31,000.00              31,000.00          31,000.00      150,386.25          273,386.25
                                                               Company Total:                                                                                                                273,386.25
                                                                                                                                                                                                           Case 3:19-cv-00383 Document 1-1 Filed on 11/18/19 in TXSD Page 2 of 2
